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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND



 STATE OF CALIFORNIA, et al.,

                      Plaintiffs,

    v.
                                                 No. 1:25-cv-00208-JJM-PAS
 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, et al.,

                      Defendants.




                                    EXHIBIT 3
                        Declaration of James P. Gray
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                             DECLARATION OF JAMES P. GRAY



    I, James P. Gray, declare as follows:

       1.     I am over the age of 18 years and a U.S. citizen. I know the following facts

    based on my own personal knowledge, through agency personnel who have assisted

    in gathering this information, or from documents that have been provided to and

    reviewed by me. If called as a witness, I could and would testify competently to the

    matters set forth below.

       2.     I am the Secretary of the Kentucky Transportation Cabinet (KYTC), as

    appointed by Governor Andy Beshear, and act as the Chief Executive Officer for the

    Cabinet. The Office of the Secretary is the central point of contact with the general public

    and external organizations and serves as the main policymaking arm of the Cabinet.

    Organizationally, KYTC is divided into four departments: Aviation, Vehicle Regulation,

    Rural and Municipal Aid, and Highways. Each department is headed by a commissioner

    directly responsible to the Secretary. Other organizational units reporting to the Office of

    the Secretary include the Offices of: Support Services, Transportation Delivery, Audits,

    Human Resource Management, Information Technology, Legal Services, Public Affairs,

    Budget and Fiscal Management, Civil Rights and Small Business Development, and the

    Office of Inspector General.

       3.     Before being appointed to serve as Cabinet Secretary in December 2019, I was

    the Mayor of the city of Lexington, Kentucky, from 2010 to 2018.

                                             Background

       4.     KYTC's mission is to provide a safe, efficient, environmentally sound and

    fiscally responsible transportation system that delivers economic opportunity and

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    enhances the quality of life in Kentucky.

       5.     KYTC oversees a comprehensive transportation system that includes about

    28,000 miles of highways, 9,100 bridges, and 59 public use airports.

        6.    Funds received from the U.S. Department of Transportation (U.S. DOT)

    in state fiscal year 2024-25 and 2025-26 are expected to total $1.3 billion each year,

    which is 38 percent (38%) of KYTC's total annual budget.

        7.    As part of my regular job duties, I oversee employees who manage federal

    grants.

        8.    KYTC works closely with state and federal agencies and Kentucky local

    jurisdictions to ensure grant dollars are used effectively and efficiently throughout

    the commonwealth.

       9.     Safety is KYTC's number one priority. The programs funded by these

    federal grants are vital to protect the residents of Kentucky. Because KYTC manages

    projects for all modes of transportation, funding reductions or loss of funding

    would be significantly detrimental to the Commonwealth of Kentucky and its residents.

    All modes would be impacted by delayed construction, operations support, maintenance,

    and administrative support. If KYTC cannot continue with planned federal projects, the

    safety of Kentucky's roads and ancillary facilities, railroad crossings, airports, riverports,

    and mass transit systems will be jeopardized. Lack of federal funding for safety

    improvements results in greater injury, property damage, and loss of life.

        10.   Although not an exclusive list of the many federal grants KYTC is awarded

    each year, they include grants from the Federal Highway Administration, Federal

    Transit Administration, Federal Motor Carrier Safety Administration, and Federal

    Aviation Administration that are critical to programs vital to keeping our roadways,

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    airspace, waterways, transit systems, and pedestrians safe.

      A.     KYTC's Use of Federal Highway Administration Funds

       11.    KYTC has obligated $1,085,101,056 in Federal Fiscal Year (FFY) 2024

    Federal-Aid Highway Funding and $21,153,600 in U.S. DOT competitive grant funding.

    As of July 7, 2025, KYTC has obligated $818,100,921 in FFY 2025 Federal-Aid

    Highway Funding and $120,810,372 in U.S. DOT competitive grant funding.

       12.    Major projects already obligated in FFY 2025 include the expansion of

    1-69 in Henderson County in anticipation of a new Ohio River bridge crossing,

    reconstruction of the 1-264/US 42 Interchange in Louisville (Jefferson County) to

    alleviate traffic congestion, widening a portion of 1-64 between Louisville and

    Lexington from four lanes to six, and improving the Mountain Parkway in

    Eastern Kentucky. Plans are also in place for new Ohio River bridges in Northern

    Kentucky (Brent Spence Bridge) and in Western Kentucky (1-69, mentioned

    previously). The new bridges will improve major thoroughfare upgrades for

    freight and commercial traffic as well as for bi-state commuters.

       13.    All of these projects and others would not be possible without federal

    transportation funding. Project work stoppages and delays that would accompany a

    reduction in federal transportation funding would needlessly result in additional costs

    and prolonged exposure to traffic congestion and unsafe driving conditions.

      B.     KYTC's Use of Federal Transit Administration Funds

       14.   KYTC was awarded apportionments of $33,543,904 from the Federal

    Transit Administration in FFY 2024 and $34,282,846 for FFY 2025. This funding is

    used to replace and expand bus and bus facilities, to include maintenance garages, in

    rural areas and communities outside of Kentucky's major metropolitan areas.

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        15.   Vehicle maintenance and timely replacement are necessary to provide safe,

    efficient, and dependable transportation. Federal operating funds are utilized for fuel,
                                                                                               .
    insurance, driver salaries and other expenses associated for running transit services.

        16.   Without transit services, many Kentucky citizens would be without

    transportation to doctors' offices, medical care facilities, places of employment,

    grocery stores, and other locations of vital necessity. The elderly, individuals with

    low income, and persons with disabilities would be most affected if these funds were

    not available.

      C.      KYTC's Use of Federal Motor Carrier Safety Administration Funds

       17.    The Federal Motor Carrier Safety Administration ("FMCSA") awarded

    KYTC with $3,690,568 in federal grant funds in FFY 2024 and is awaiting

    announcement of FFY 2025 grant award totals. KYTC receives Motor Carrier Safety

    Assistance Program (MCSAP), Commercial Driver License Program Implementation

    (CDLPI), and High Priority- Innovative Technology Deployment (HP-ITD) funds

    which are essential to maintaining safety on Kentucky's highways. These federal

    grants fund replacement and maintenance of roadside screening equipment (at weigh

    stations); enhancement and expansion of truck parking management systems;

    missing commercial motor vehicle (CMV) license plate data identification and

    reporting; motor carrier portal enhancements and maintenance; installation and

    maintenance of tire pressure detection systems; data quality analysis and monitoring;

    enhancement to overweight/over dimensional systems; and training and outreach

    regarding the Federal Motor Carrier Safety Administration's (FMCSA) commercial

    driver license requirements.

       18.    FMCSA's mission is to reduce crashes, injuries, and fatalities involving

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    large trucks and buses. These federal grants aid in the deployment, upgrade and

    maintenance of technology that enhances the safety of commercial motor vehicle

    (CMV) operations and improves efficiencies in credentialing and tax administration

    of CMV's in Kentucky. This federal funding also provides financial assistance to

    carry out and improve the national Commercial Driver License (CDL) program.

       19.    These grant funds also allow KYTC to take measures to ensure that drivers

    follow hours of service rules, which reduces crashes caused by sleep deprivation.

       20.    Without federal grant funding from FMSCA, Kentucky highways will be

    less safe. Motor carriers are heavy vehicles with long slowing and stopping distances

    and regular inspections of equipment are needed to avoid crashes. Motor carrier

    crashes are devastating to other motor vehicles causing significant property damage,

    injury, and death. Without these grant funds, the quantity and quality of federally

    mandated oversight and inspection of vehicles and drivers will be significantly

    diminished, making roads and the traveling public less safe.

      D.      KYTC's Use of National Highway Transportation Safety
              Administration Funds

       21.    KYTC receives National Highway Transportation Safety (NHTSA) grant

    awards to promote highway safety. The Kentucky Office of Highway Safety

    distributes these awarded federal funds to promote media campaigns, educational

    programs and enforcement to address distracted driving, impaired driving, occupant

    protection and other highway safety concerns. These awards are also used to

    purchase equipment to support law enforcement, car passenger safety initiatives and

    KYTC staff salaries to implement and administer highway safety programs.

       22.    For FFY 2024, KYTC was awarded $10,407,016 to carry out this work.

    For FFY 2025, KYTC expects to receive $10,650,024 in federal grant award dollars,
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    and intends to submit additional federal grant applications. This funding is crucial for

    the Kentucky Office of Highway Safety to continue to fund its partners and staff to

    carry out its mission to prevent serious injury crashes and fatalities on Kentucky

    roadways.

      E.        KYTC's Use of Federal Aviation Administration Funds

       23.      KYTC has historically applied for and relied on grant funds under the

    Federal Aviation Administration's (FAA) Airport Improvement Program (AIP) to

    pay for improvements and necessary changes to its airp orts, including smaller

    general aviation airports.

       24.      In Kentucky, commercial and general aviation airports will apply directly

    to the FAA for federal grants and funding. KYTC applies to the FAA for the four
                                                                                 ....
    state-owned airp orts in Kentucky. In total, the statewide allocation of funds
                                                                              • from the
    FAA average $8 million annually. FAA grants to commercial airports within

    Kentucky are not included in this amount and can be more than $100 million

    annually.

       25.      In FFY 2024, KYTC was awarded AIP entitlements totaling $205,000 and,

    under the Airp ort Improvement Grant (AIG) program from the Infrastructure and

    Investment and Jobs Act (IIJA), KYTC received $156,000. In FFY 2025 KYTC has

    applied for a total of $1.8 million in AIP funding and $1 million in Airp ort Terminal

    Program (ATP) funding.

       26.      Annually the FAA grants each airport $150,000. These annual grant amounts

    can be saved and accumulated for up to five years to help fund a more significant project

    at the specific airport. Fifty-three (53) airports in Kentucky participate, totaling just under

    $8 million annually. These projects include the construction of a new airport in Gallatin

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    County, construction of a new state-of-the-art te1minal in Paducah, and funding for the

    maintenance of critical infrastructure at all of our general aviation airports.

        27.    When airport runways age they deteriorate, making it less safe for planes to

    take off and land. Further, when airport facilities do not keep up with federal

    requirements and design standards there could be an increase in safety concerns. For

    example, runway navigational aids and runway markers ensure pilots are able to navigate

    safely.

        28.    Kentucky airports will be less safe without these federal grant funds.

                    The FFY 2025 Immigration Enforcement Requirements
                       and its Impact on KYTC's Grant Administration

       29.    On April 24, 2025, KYTC received a copy of the April 24, 2025 letter from

    Secretary of Transportation Sean Duffy issued to all recipients of U.S. DOT

    funding stating that recipients' "legal obligations require cooperation generally with

    Federal authorities in the enforcement of Federal law, including cooperating with

    and not impeding U.S. Immigration and Customs Enforcement (ICE) and other

    Federal offices and components of the Department of Homeland Security in the

    enforcement of Federal immigration law." This letter warned that "failure to

    cooperate ... in the enforcement of Federal law" will ''jeopardize your continued

    receipt of Federal financial assistance from DOT and could lead to a loss of Federal

    funding from DOT."

       30.    KYTC has seen language related to immigration enforcement terms and

    conditions in several grants, including the Bridge Investment Program, Competitive

    Highway Bridge Program, Infrastructure for Rebuilding America (INFRA),

    Promoting Resilient Operations for Transformative, Efficient, and Cost-saving

    Transportation Program (PROTECT), and Rebuilding American Infrastructure with
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    Sustainability and Equity (RAISE).

       31.    It is not clear to me what U.S. DOT means to include within the broad phrase,

    "cooperating with ... U.S. Immigration and Customs Enforcement (ICE) and

    other Federal offices and components of the Department of Homeland

    Security in the enforcement of Federal immigration law." I am not aware of what

    limits there may be, if any, to "cooperating with ... enforcement of Federal

    immigration law." I am also not aware of any definitions, citations, or criteria that

    might define what activities may be required to "cooperate" with U.S.

    Immigration and Customs Enforcement."

       32.    As Secretary ofKYTC, I am not aware ofKYTC staff ever being required

    to enforce or participate in the enforcement of federal civil immigration law. Further,

    because KYTC is responsible for duties related to transportation infrastructure and

    promoting safe driving, KYTC staff does not have the expertise, training or capacity

    to enforce immigration law.

       33.    IfKYTC attempts to comply with the federal government's new funding

    condition, KYTC would be required to monitor compliance with the new federal civil

    immigration enforcement condition as to all its many sub-grantees of grant

    awards. KYTC currently does not have the capability, training or subject matter

    expertise to monitor sub-grantees' level of cooperation and coordination in civil

    immigration enforcement. KYTC would be required to allocate additional funds

    annually to hire staff that is properly trained and experienced to monitor these specified

    duties. This, in tum, may mean the diversion of funds that KYTC would no longer

    have available for activities such as highway planning, design, and construction

    projects. This would seriously hinder the state's ability to deliver the current federally-

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     funded programs, which would put the state's federal funding at risk.

        34.    Alternatively, if KYTC personnel themselves were required to participate

     in federal civil immigration enforcement, KYTC would incur costs in trainings, the

     creation of procedures and guidelines, and lost personnel time diverted to those tasks

     to be included in "cooperating with ... enforcement of Federal immigration law."

                       Harm Loss of Federal Grant Funds Would Cause

        35.    Without access to FFY 2025 federal transportation grant funding, KYTC

     will not have sufficient regular state or federal formula funds available to pursue

     those projects for which the grant funding has been requested and received. Any

    delays and/or cancellations of awarded federal grant funding will have immediate

    and long-term adverse impacts to Kentucky's transportation program. Projects such

    as the planned Ohio River bridges require project planning years in advance and

    require advanced commitment of KYTC staffing and resources, including hiring staff

    and negotiating and implementing contracts. If KYTC cannot obtain the anticipated

     federal funding, this could lead to service cuts, layoffs, and cancellation of contracts

    and associated penalties. Consequently, any denials or cuts in expected federal

     funds will negatively impact virtually all KYTC operations. Any pause or

     termination in federal funding would devastate the state's ability to provide safe and

    reliable transportation solutions to its residents and visitors.

        36.    Losing U.S. DOT grants would severely obstruct and undermine KYTC's

    mission, even if the funding were restored at a later date, because any delay in

     funding equates to increases in project and program costs and lost opportunities

     for improved safety and functionality of the transportation system.

        I declare under penalty of perjury that the foregoing is true and correct, and that

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    this declaration was executed on July 10, 2025 in Frankfort, Kentucky.




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